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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

KATRINA BRADLEY,                   :
                                   :
     Plaintiff,                    :
                                   :
v.                                 :      Case No. 3:17-cv-495(RNC)
                                   :
RICHARD V. SPENCER,                :
                                   :
     Defendant.                    :

                          RULING AND ORDER

     Plaintiff Katrina Bradley brings this action under the

Fifth Amendment Due Process Clause and the Administrative

Procedure Act (“APA”) challenging a decision of the Board for

Correction of Naval Records (“BCNR”) denying her application for

correction of her naval record.        She seeks an upgrade of her

discharge status or a reversal and remand to the agency with

instructions for further proceedings.        Defendant admits that the

BCNR erred by failing to consider the Military Whistleblower

Protection Act (“MWPA”) and moves for a voluntary remand.1            For

reasons explained below, defendant’s motion is granted.

I. Background

     The complaint alleges the following.        Plaintiff, who is

African American and gay, enlisted in the Navy in 1994.         Shortly

after she enlisted, she was the victim of racial profiling by


1 At the time plaintiff filed the complaint, the Acting Secretary
of the Navy was Sean J. Stackley. The current Secretary is
Richard V. Spencer.


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military police officers and sexual harassment by one of her

male superiors.   The sexual harassment made her feel especially

vulnerable as a gay woman who had to be closeted at work due to

the military’s then-current Don’t Ask, Don’t Tell policy.            She

filed a formal sexual harassment complaint, but the Navy failed

to adequately investigate the officer.        Plaintiff’s harasser

made retaliatory statements to her in response to the complaint,

including telling her that she had “messed up” by filing it and

that she would regret doing so.        Moreover, after she filed the

complaint, her supervisors treated her poorly and targeted her

for discipline.   She received non-judicial punishment for four

infractions: leaving her place of duty and watching a movie;

being tardy to a “Captain’s Call”; falling asleep on duty; and

failing to pay her phone bill.     Shortly thereafter, command gave

her administrative counseling and confined her to barracks,

during which time her harasser visited and taunted her.         Formal

discharge proceedings followed.        The harassing officer was

involved in the process leading to the discharge decision.            In

1996, the Navy discharged plaintiff under Other-than-Honorable

(“OTH”) conditions following a recommendation for

“Administrative Separation by reason of Misconduct due to

Commission of a Serious Offense.”

    In spring 2016, plaintiff applied to the BCNR to correct

her naval record to reflect a more favorable discharge.         In


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support of her application, she submitted her own affidavit as

well as a declaration from a woman who was her romantic partner

in 1995.   She did not dispute the underlying misconduct but

alleged that the OTH discharge was an excessive response to her

conduct and that the real reasons for the OTH discharge were

discrimination and retaliation.

    The BCNR waived the time limit applicable to the filing of

plaintiff’s application but denied the application, finding that

her “punishment was a direct result of [her] actions.”

Regarding her claims that she was sexually harassed and

discriminated against, the BCNR found there was “no evidence in

the record, and [she] provided none, to support [her]

assertions.”   The BCNR decision did not discuss a potential

retaliation claim, the MWPA, or several of plaintiff’s other

arguments.

II. Legal Standard

    Courts review “decisions of boards for correction of

military records in light of familiar principles of

administrative law.”    Piersall v. Winter, 435 F.3d 319, 321

(D.C. Cir. 2006) (internal quotation marks omitted) (collecting

cases).    When a district court reviews a final agency action

under the APA, it “sits as an appellate tribunal.”        PPG Indus.,

Inc. v. United States, 52 F.3d 363, 365 (D.C. Cir. 1995)

(quoting Marshall Cty. Health Care Auth. v. Shalala, 988 F.2d


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1221, 1225 (D.C. Cir. 1993)).      The court may “hold unlawful and

set aside agency action, findings, and conclusions” that are

“arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law,” or that are “unsupported by substantial

evidence.”    5 U.S.C. § 706(2).   “Under settled principles of

administrative law, when a court reviewing agency action

determines that an agency made an error of law, the court’s

inquiry is at an end: the case must be remanded to the agency

for further action consistent with the corrected legal

standards.”   PPG Indus., 52 F.3d at 365 (citations omitted); see

also Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985)

(“If the record before the agency does not support the agency

action, if the agency has not considered all relevant factors,

or if the reviewing court simply cannot evaluate the challenged

agency action on the basis of the record before it, the proper

course, except in rare circumstances, is to remand to the agency

for additional investigation or explanation.”).

    Administrative agencies have the inherent power to

reconsider their own decisions.        Dun & Bradstreet Corp. Found.

v. U.S. Postal Serv., 946 F.2d 189, 193 (2d Cir. 1991)

(collecting cases).    Voluntary remand is usually appropriate

when new evidence becomes available, see Ethyl Corp. v. Browner,

989 F.2d 522, 523-24 (D.C. Cir. 1993), or when intervening

events, such as a new legal decision or passage of legislation,


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could “affect the validity” of the original decision, SKF USA

Inc. v. United States, 254 F.3d 1022, 1028 (Fed. Cir. 2001)

(citing Ethyl Corp., 989 F.2d at 524).       However, “[e]ven in the

absence of intervening events, upon an agency’s remand request,

the reviewing court still has discretion over whether to

remand.”   Sierra Club v. Van Antwerp, 560 F. Supp. 2d 21, 23

(D.D.C. 2008) (citing Citizens Against Pellissippi Parkway

Extension, Inc. v. Mineta, 375 F.3d 412, 417 (6th Cir. 2004)

(“Although there is no allegation of new evidence or a change in

the law in the present case, the same considerations of judicial

efficiency apply.”)).    In such a case, “if the agency’s concern

is substantial and legitimate, a remand is usually appropriate.”

SKF USA Inc., 254 F.3d at 1029.        Nevertheless, an agency’s

voluntary request for remand may be denied under limited

circumstances.   For example, “[a] remand may be refused if the

agency’s request is frivolous or in bad faith.”        Id. (citing

Lutheran Church–Mo. Synod v. FCC, 141 F.3d 344, 349 (D.C. Cir.

1998)).    Moreover, a court may decline to grant a remand if it

is clear that a remand would be futile.        E.g., NLRB v. Am. Geri-

Care, Inc., 697 F.2d 56, 64 (2d Cir. 1982) (upholding an

administrative decision where “reversal and remand would be an

idle and useless formality . . . because there is not the

slightest doubt that the [agency] would simply reaffirm its

order” (citation and internal quotation marks omitted)); see


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also A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1489 (D.C. Cir.

1995) (declining to remand where “[t]here is not the slightest

uncertainty as to the outcome of a[n] [agency] proceeding”

(alterations in original) (quoting NLRB v. Wyman-Gordon Co., 394

U.S. 759, 766 n.6 (1969))).2

III. Discussion

     A. Voluntary Remand

     Remand is appropriate here.       The BCNR erred by failing to

address the applicability of the MWPA when the agency reviewed

plaintiff’s application.    The parties agree that under the

BCNR’s own regulations, 32 C.F.R. § 723.3(e)(4), the BCNR was

required to address the applicability of the MWPA.        See Def.’s

Motion, ECF No. 13, at 6; Pl.’s Opp., ECF No. 14, at 4.

Defendant’s admission of legal error is a “substantial and

legitimate” concern justifying a voluntary remand.        See Citizens

Against Pellissippi Parkway Extension, 375 F.3d at 416 (noting

that it may be “an abuse of discretion to prevent an agency from

acting to cure the very legal defects asserted by plaintiffs

challenging federal action”).

     Plaintiff opposes a remand on the ground that it would be

futile because the BCNR often fails to adequately review




2 See also Macktal v. Chao, 286 F.3d 822, 826 (5th Cir. 2002)
(“An agency may not reconsider its own decision if to do so
would be arbitrary, capricious, or an abuse of discretion.”).


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applications and rarely finds MWPA violations.        Pl.’s Opp., ECF

No. 14, at 6-10.3   Even assuming the Court may consider the

statistical evidence plaintiff cites, which defendant disputes,

she has not shown that remand would be futile.        This is not a

case where “[t]here is not the slightest uncertainty as to the

outcome” on remand, A.L. Pharma, 62 F.3d at 1489, or where

“reversal and remand would be an ‘idle and useless formality’ .

. . because there is not the slightest doubt that the [BCNR]

would simply reaffirm its order,” Am. Geri-Care, 697 F.2d at 64.

Remand is appropriate when, as here, there is some chance the

agency will come to a different conclusion.       E.g., Nat’l

Nutritional Foods Ass’n v. FDA, 504 F.2d 761, 798 & n.65 (2d

Cir. 1974) (remanding to the FDA to allow for cross-examination

of an expert because the court “simply cannot assume that if

[the expert’s testimony] had been shattered by vigorous cross-

examination, however unlikely that may be, the FDA or we would

reach the same result”).


3 She also cites internal BCNR training materials that apparently
misstate the MWPA’s definition of “protected communication” in
an inappropriately limited way. See Pl.’s Supp. Br., ECF No.
22. Defendant admits that the training materials plaintiff
identified misstate the law and represents that the BCNR has
corrected its training program accordingly. Def.’s Reply to
Supp. Br., ECF No. 28. The BCNR’s changed position was
apparently spurred by a ruling that remanded a case after the
BCNR applied the same incorrect definition of “protected
communication” that plaintiff identifies here. See Goode Aff.,
ECF No. 31, at 2 (discussing Penland v. Mabus, 181 F. Supp. 3d
100 (D.D.C. 2016)).


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    Plaintiff also argues that remand is inappropriate because

it would delay the proceedings.        She cites no cases holding that

an expected delay in proceedings provides a court with a

sufficient basis for denying a voluntary remand.        See Pl.’s

Opp., ECF No. 14, at 10-12.    An appellate tribunal may always

hasten the final resolution of a case by declining a remand and

undertaking to decide for itself all the issues presented; but,

like any appellate body, this Court “is not generally empowered

to conduct a de novo inquiry into the matter being reviewed and

to reach its own conclusions based on such an inquiry.”         Fla.

Power & Light Co., 470 U.S. at 744.

    To some extent, plaintiff’s “delay” argument merely

restates her futility argument: since it is unlikely the BCNR

will come to a different decision, the case will likely come

before this Court again.    But, even if that is true, remand is

appropriate because the Court will have the benefit of reviewing

a more fully developed record in the event plaintiff brings

another APA challenge.     This is particularly true in this case

because, after the BCNR’s review of her MWPA claim on remand,

plaintiff will be entitled to an administrative appeal that was

not available after the BCNR’s first decision.        32 C.F.R. §

723.7(b) (“[I]n cases involving the [MWPA,] . . . unless the

full relief requested is granted, [the Secretary will] inform

applicants of their right to request review of the decision by


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the Secretary of Defense.”).        In general, granting an agency’s

voluntary request for a remand allows “agencies to cure their

own mistakes rather than wasting the courts’ and the parties’

resources reviewing a record that both sides acknowledge to be

incorrect or incomplete.”       Ethyl Corp., 989 F.2d at 524.       Thus,

judicial economy weighs in favor of, not against, remanding the

case.

    B. Proceedings on Remand

    In the event of a remand, plaintiff has urged the Court to

impose several requirements on the BCNR.          I decline to order the

BCNR to adhere to most of plaintiff’s requests.           However, I

agree with plaintiff that some aspects of the BCNR’s first

decision must be reconsidered on remand.

    Plaintiff first notes that the BCNR’s decision stated that

“[t]here is no evidence in the record, and you provided none, to

support your assertions” of sexual harassment and

discrimination.     She argues that this was erroneous because of

the sworn statements she provided supporting her allegations.

While she acknowledges that the BCNR regulations give a

“presumption of regularity to support the official actions of

public officers,” she notes that this presumption is rebuttable

with “substantial evidence to the contrary.”          32 C.F.R. §

723.3(e)(2).     She asks this Court to (1) direct that there is

undisputed evidence in the record that she filed a sexual


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harassment complaint, and (2) in the absence of further

evidence, require the BCNR to determine whether the sworn

statements are sufficient to rebut the presumption of regularity

and, if not, explain why.

    “The scope of review under the ‘arbitrary and capricious’

standard is narrow and a court is not to substitute its judgment

for that of the agency.”    Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

Accordingly, the Court cannot direct the BCNR to make a

particular evidentiary finding.      “Nevertheless, the agency must

examine the relevant data and articulate a satisfactory

explanation for its action including a ‘rational connection

between the facts found and the choice made.’”        Id. (citing

Burlington Truck Lines v. United States, 371 U.S. 156, 168

(1962)).   The Court “will not disturb the decision of an agency

that has” done so.   Pettiford v. Sec’y of the Navy, 774 F. Supp.

2d 173, 181 (D.D.C. 2011) (citation omitted).        But “[t]o enable

a court to perform that review and ensure that the decision is

not ‘utterly unreviewable,’ a military corrections board ‘must

give a reason that a court can measure, albeit with all due

deference, against the “arbitrary or capricious” standard of the

APA.’”   Id. at 182 (quoting Kreis v. Sec’y of the Air Force, 866

F.2d 1508, 1514-15 (D.C. Cir. 1989)).       In this case, although

the BCNR is only required to “include a brief statement of the


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grounds for denial,” the statement “shall include the reasons

for the determination that relief should not be granted,

including . . . the essential facts upon which the denial is

based.”   32 C.F.R. § 723.3(e)(3)-(4).      Therefore, if on remand

the BCNR rejects the evidence provided by plaintiff, it must

provide an adequate explanation.4

     Plaintiff also requests that the Court order certain

discovery procedures and an in-person evidentiary hearing.             The

Court cannot grant this relief.      Defendant has considerable

discretion in fashioning procedures for the BCNR to follow.             See

10 U.S.C. § 1552(a)(3)(A) (“Corrections . . . shall be made

under procedures established by the Secretary concerned.”).             As

plaintiff recognizes, under the currently applicable

regulations, rights to discovery and hearings are discretionary.

See, e.g., 32 C.F.R. § 723.3(e)(1), .4.       Whatever the merits of

plaintiff’s arguments as a matter of policy, the Court cannot

order the BCNR to grant her discovery and an in-person hearing.

     Moreover, plaintiff’s request for mandatory deadlines is


4 Contrary to defendant’s assertion, ECF No. 16 at 10-11, the
BCNR’s statement that plaintiff provided “no evidence” cannot be
read simply as a statement that she did not provide substantial
evidence. Even if it could be, moreover, such a conclusory
statement is insufficient to allow for meaningful judicial
review. Under the BCNR’s regulations and principles of
administrative law, the BCNR must provide some explanation for
its decision. As it stands, the “brief statement went awry” by
incorrectly failing to acknowledge the evidence provided by
plaintiff. Penland, 181 F. Supp. 3d at 105.


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unwarranted.    Defendant concedes that it is within this Court’s

power to grant such a request.     ECF No. 16 at 11.      But court-

imposed deadlines are not necessary here.       The regulations

governing the BCNR provide that decisions in cases involving the

MWPA must be issued “180 days after receipt of the case.”          32

C.F.R. § 723.7(b).     Plaintiff has not shown any need for an

especially prompt decision or that she would be prejudiced by

the 180-day timeline.

    Finally, plaintiff states that the BCNR did not address all

her arguments.    E.g., ECF No. 14 at 1.     On remand, the BCNR must

ensure that it considers all of plaintiff’s “arguments that are

not facially frivolous.”     Frizelle v. Slater, 111 F.3d 172, 174

(D.C. Cir. 1997).     “[I]f a military board of corrections

‘fail[s] to address . . . arguments that are not facially

frivolous,’ its decision must be reversed and the matter

remanded.”     Pettiford, 774 F. Supp. 2d at 182 (quoting Frizelle,

111 F.3d at 174) (other citations omitted); see also id. at 185

(“On remand, the BCNR is free to reject plaintiff’s argument,

but ‘it must expressly indicate that it has done so’ and

‘explain its rationale.’” (citations omitted)).

IV. Conclusion

    Accordingly, defendant’s motion for voluntary remand, ECF

No. 13, is granted.     The case is remanded to the BCNR for

further proceedings consistent with this Order.        The Clerk may


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enter judgment and close the file.

    So ordered this 11th day of April 2019.



                                      ___/RNC/________________
                                      Robert N. Chatigny
                                 United States District Judge




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